      Case 2:18-cv-08605-JVS-SS Document 84 Filed 11/30/20 Page 1 of 4 Page ID #:788

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                                   ,~~                          To:    Hon. James V. Selna
 0                                                                     c/o U.S. District Court - CACD
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 a                                                                     4~1 West 4th Street
                                                                       Santa Ana, CA 92~oi-4516
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 0     To Whom It May Coricex~~.. f~'t'-3       ~ =~   ~.
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 Z     I am writing in re: Alvarez v. Sirius XM Radto Inc., docket no. 2:i8-cv-o86o5-JVS-SS. I, the
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 Z
 W
       undersigned, do hereby object to the proposed class action settlement and give notice of my
 mm    intent to appear pro se at the final approval hearing scheduled for 25 January 2021. I request 5 —
 Y
       lo minutes to address my objections with the Court.
..~
al     I, the undersigned, have standing as a member of the active lifetime subscribers class (Identifier
       no. 334C~T9~3)• My subscription predates the merger of Sirius Satellite Radio and XM Satellite
       Radio, but Defendant has not provided me with an exact date. I estimate that I purchased my
.~     lifetime subscription from Sirius Satellite Radio in 2005 or 2006. I have previously objected to
       Dover et al v. British Airways,PLC(UK), docket no. i:i2-cv-o556~(RJD)(CLP).
ti
z      I, the undersigned, object to the proposed class action settlement on the following grounds:
r

r      i. Defendant's delivery of class action notice by United States Mail is insufficient given the 2018
       amendments to Rule 23(c)(2) of the Federal Rule of Civil Procedure, which set forth new uniform
r      standards for class notifications. Considering recent disruptions to the United States Mail, notice
       should also have been conveyed by electronic mail to all class members.
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       2. This agreement unjustly enriches Defendant. Defendant failed to disclose the existence of any
       transfer fee at the time of subscription; having provided no written agreement upon purchase.
:
~      Further, Defendant downgraded the number of channels lifetime subscribers would receive when
       it introduced subscription packages (see Exhibits A and B).

       3. There is nothing in this agreement that prevents Defendant from engaging in this activity in
       the future (i.e. no injunctive relief or prospective assurances), which likely will necessitate future
       litigation. Certainly, this Settlement reduces the improper assessments of similar surcharge to
       simply a cost of doing business for Defendant.

       4. The process for objecting is quite onerous. The long form notice requires that objections be
Q.     sent to the Settlement Administrator, Settlement Class Counsel, and the lawyers for Defendant. It
N
       is unlikely most Settlement Class Members will know to look at the Settlement Agreement itself
       to locate such addresses, thereby discouraging objections.
M
       I,the ur~ders~g~ed, swear that the foregoing is true under penalty of perjury this 2~th day of
       Nov mbe~o2o.
          ~-~ c~

      `Joshua A. Sauberman
.Q     ~2 Terrehans Lane, Syosset, NY ii791-6326
       +1-213-2g2-8272
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       Case 2:18-cv-08605-JVS-SS Document 84 Filed 11/30/20 Page 2 of 4 Page ID #:789

 W      CC.
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        SiriusXM Settlement Administrator
 Y      c/o Epiq Class Actions &Claim Solutions, Inc.
 0      PO Box 4079
 3      Portland, OR g~208-4079
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 0
 Z      AHDOOT & WOLFSON,PC
 0
 J

 Z
 a      Robert R. Ahdoot
 Z
 Wm     Bradley K. King
 Y
  m     Theodore Maya
        Tina Wolfson
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        tmaya@andootwolfson.com
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;~      cdukelow@abingtonlaw.com

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M
        Thomas Demitrack
C       901 Lakeside Avenue
        Cleveland, OH 44114-ii90
L       Tel: +i-216-586-~i4i
        tdemitrack@jonesday.com
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                    ✓ -Iwo dedicated Iioward Stern channels,                                                                              r Two dedicated Howard Sicm channels,
                         including video                                                                                                      including video




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